EXHIBIT 7

Student Declarations

 

 

Case 5:18-cV-00388-TES Document 28-7 Filed 11/14/18 Page 2 of 34

DECLARATION OF

 
    

, hereby declare and affirm the following:
l. I arn over twenty-one (21) years of age and otherwise competent to
testify as to the matters set forth herein. I have personal knowledge of the matters

set forth herein.

2. I am a current student at \|L{SDM§QE]§ in&gy;\mjl£§,

\§)li§§lh(dim($¢h@°l. City, state)
3' 1 am enrolled in the §§Gl§§edmedml_ll§sisbnl__

program.
4. Upon graduation, I will receive a '\ }\"P\gm’
lha\¥im§\m

 

5. I expect to complete my program in mm

 

6. To pay for my education, l have utilized F ederal student aid programs,

including l:A FP\A

7. I have)_(Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

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Case 5:18-cV-OO388-TES Document 28-7 Filed 11/14/18 Page 3 of 34

8. lf given the choice, l would choose to complete my degree at

N_\;&_\D_Q_ College, as opposed to stopping my education and receiving a

discharge of my student loans.
9. ln addition, l would like add the following:

~§; ._ z §§… y W

ts_u§lhtsss\e_um minn s assn mmr

 

 

 

10. No one has promised or offered me anything in exchange for providing

this statement, I give it freely and voluntarily

[Reminder of page intentionally left blank]

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Case 5:18-cV-OO388-TES Document 28-7 Filed 11/14/18 Page 4 of 34

I declare under penalty of perjury that the foregoing is true and correct

Dated: November l , 2018

 

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Case 5:18-cV-OO388-TES Document 28-7 Filed 11/14/18 Page 5 of 34

DECLARATION OF

   
 
 

 

l , hereby declare and affirm the following:

1. l am over twenty-one (21) years of age and otherwise competent to
testify as to the matters set forth herein. I have personal knowledge of the matters
set forth herein.

2. l am a current student at\ll| (JH|HI [.llllll!l.in gpaljdmmq,

&(.) . (School, city, state)

3. lam enrolled in the M€A\CHL n SSlS"i'Ml/l_l_

prograin.

.4. Idpon graduation, l will receive a medical
mildrin en_~i;'t.mlg, .

5. I expect to complete my program in ;l(l[ll!fgv ij

7,0\

6. To pay for my education, l have utilized Federal student aid programs,

including l\)l;\l QYO-V\l$ ,. F_rlU d fill lode
7. I./have not (Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

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Case 5:18-cV-OO388-TES Document 28-7 Filed 11/14/18 Page 6 of 34

8. lf given the choice, I would choose to complete my degree at
§llf l%l!mll College, as opposed to stopping my education and receiving a
discharge of my student loans.
9. In addition, 1 would like add the following:
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10. No one has promised or offered me anything in exchange for providing

this statement, I give it freely and voluntarily

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Case 5:18-cV-OO388-TES Document 28-7 Filed 11/14/18 Page 7 of 34

l declare under penalty of perjury that the foregoing is true and correct

S'l
Dated: Novernber , 201 8

 

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Case 5:18-cV-OO388-TES Document 28-7 Filed 11/14/18 Page 8 of 34

 

DECLARATION OF
I, -, hereby declare and affirm the following:
l. l am over twenty-one (21) years of age and otherwise competent to

testify as to the matters set forth herein. I have personal knowledge of the matters

set forth herein.

2. l am a current student at Nj_[%m§]\_g@ll€§€in gm_{}_[\mj
§§ . (School, city, state)

3. lamemolledinihe lYl€Cl'\CCLl OlSSlSiCllllr
program

4. upon gradualion, l will receive a `lYlCCllC£Ll
GSS\S’rOlut C@Yt§\@nte

 

5. I expect to complete my program in
becomes ct 30 rt
6. To pay for my education, I have utilized Federal student aid programs,

including l)@_ll €!mYl'l'S and S'l'\)dCYl'l' LDCWl$
7. l have-Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

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Case 5:18-cV-OO388-TES Document 28-7 Filed 11/14/18 Page 9 of 34

8. lf given the choice, I would choose to complete my degree at

 

ligan College, as opposed to stopping my education and receiving a

 

discharge of my student loans.
9. In addition, I would like add the following:
1 cn\u have 100 hours cl tltttvn and \ will

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realm mg cei/isla cure

 

 

 

10. No one has promised or offered me anything in exchange for providing

this statement, l give it freely and voluntarily.

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Case 5:18-cv-OO388-TES Document 28-7 Filed 11/14/18 Page 10 of 34

l declare under penalty of perjury that the foregoing is true and correct

Dared; November 4- ,2018

 

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Case 5:18-cv-OO388-TES Document 28-7 Filed 11/14/18 Page 11 of 34

 

DECLARATION OF
I, _hereby declare and affirm the following:
l. l am over twenty-one (21) years of age and otherwise competent to

testify as to the matters set forth herein. I have personal knowledge of the matters

set forth herein.

2. I am a current student at \l ]'\’%"]D]'Q- l §i“€gcl'n _S{_'BMVS
§ §§ 5 . (School, city, state)

3. lamemolledinwe_llltdmldlilung_und_fcdl%

program.

4. Upon graduation, l will receive a N\€dlcfll

Ql` \l§g;% Olgci gifng §;€,r§i§'r_©tie,
5. I expect to complete my program in fix §§ ll

10 \Cl

6. To pay for my education, l have utilized Federal student aid programs,

including ?€\\ (_nml_nj¥ ,\ SXO(iCYH \Cm\$l. S€\FPO\)(

7. l hav.ircle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

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8. If given the choice, I would choose to complete my degree at

§|§ §§§l§§i§ College, as opposed to stopping.rny education and receiving a

dicchcrgc of my crodcnr lodns.
9. lrl addition, l would like acid the following:
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time island paul "rO Cc>mc, \r\€re
to %e.t @of edocl©rhor\ ©r\Cl
\oc’c\rc~r Ourse\\\es. l v\l'r;m+ to
finish Or_i’r fine prondrom_
10. No onc hac promised or orrcrod rnc anything in cxchangc for providing

this statement, I give it freely and voluntarily

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Case 5:18-cv-OO388-TES Document 28-7 Filed 11/14/18 Page 13 of 34

l declare under penalty of perjury that the foregoing is true and correct

Dated: Novernber l , 2018

 

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Case 5:18-cv-OO388-TES Document 28-7 Filed 11/14/18 Page 14 of 34

 

DECLARATION JO_l*`
l, __, hereby declare and affirm the following:
1. I am over twenty-one (21) years of age and otherwise competent to

testify as to the matters set forth herein. I have personal knowledge of the matters

set forth herein.

2. l am a current student at M¢/GW/? éiyin \%E`AN 56§§
ja . (School city,state)

3. I am enrolled in the /'§LL(")CT J/[O`D 1116

program

4. Upon graduation, l will receive a

€aq"lFrc'c gauge

 

 

l expect to complete my program in
§‘€ce/hb-n Zo/S

To pay for my education, l have utilized Federal student aid programs,

including f I/L£l£g§ 9;/} @LL- GM

ve not (Circle one that applies) received student aid` in excess

 

of tuition and fees to offset my living expenses, including:

j’/'i/€€MD;

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Case 5:18-cv-OO388-TES Document 28-7 Filed 11/14/18 Page 15 of 34

8. If given the choice, I would choose to complete my degree at
\~}l£‘l§{nlg'_' College, as opposed to stopping my education and receiving a

discharge of my student loans.

9. 111 addition, l would like add the following:
;“'..`AM dc amoco /a'r- ,41~:>
/ir'r/rda sara-ca 729 Kr.-cwm< ripe
MMI¢¢;T ~'___~

 

 

10. No one has promised or offered me anything in exchange for providing

this statement, I give it freely and voluntarily.

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Case 5:18-cv-OO388-TES Document 28-7 Filed 11/14/18 Page 16 of 34

I declare under penalty of perjury that the foregoing is true and correct

Dated:November / ,2018

 

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Case 5:18-cv-OO388-TES Document 28-7 Filed 11/14/18 Page 17 of 34

 

MML
I, - hereby declare and affirm the following:
1. I am over twenty-one (21) years of age and otherwise competent to

testify as to the matters set forth herein. I have personal knowledge of the matters

set forth herein.

2. l am a current student at kli"$ 1`[){€ COl}Q’fin _SQ_OLELMS,
j ll =. . (School, city, state)

3. icm cnroilcd inilrc Olf)f)@Cl`Cl`-l-€ '3 /L§gfg‘g£§; Q§lmml§qulrbt
progrcrn.
4. Upon graduation, i will rcccivc c Qé§t)€r‘ ¢i¥€_`f»
degree

5. l expect to complete my program in mQ_CQbM

 

 

6. To pay for my education, I have utilized Federal student aid programs,

including l,:Af`)l:/ll north facing Erlgdgl',on tollcql¢@c HQMS

7. I have@€ircle orie that applies) received student aid in excess

 

of tuition and fees to offset my living expenses, including:

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Case 5:18-cv-OO388-TES Document 28-7 Filed 11/14/18 Page 18 of 34

8. If given the choice, I would choose to complete my degree at

l[l'];(`§g,’§j College, as opposed to stopping my education and receiving a

discharge of my student loans.

9. In addition, l would like add the following:
\/rr:gmiq foliage inns opened up cl whole rifle
world gov mar j:l/lqoe learned more denial

wo f gg.~
:OlpprerrGJ-€, -l~hr§ farrell-frcth

 

 

10. No one has promised or offered me anything in exchange for providing

this statement, l give it freely and voluntarily

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Case 5:18-cv-OO388-TES Document 28-7 Filed 11/14/18 Page 19 of 34

I declare under penalty of perjury that the foregoing is true and correct

Dated: November l , 2018

 

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Case 5:18-cv-OO388-TES Document 28-7 Filed 11/14/18 Page 20 of 34

 

DECLARATI(_)N (_)F
I, __, hereby declare and affirm the following:
l. I am over twenty-one (21) years of age and otherwise competent to

testify as to the matters set forth herein. I have personal knowledge of the matters

set forth herein.

  

2. I am a current student at l'
ttrllf- g:{r,~g g g . (schooi, city, croic)

3. iorncnrolicdiniirc lvlcr\irr.l A€-r-.lslrnnl

program
4. Upon graduation, l will receive a ll ‘ ,"\. `-

 

5. I expect to complete my program in ` . ' \
'Iz~'\`.-\C"\

6. To pay for my education, l have utilized Fedei'al student aid programs,
including \QC\\\*`~, C-\.\‘\ r\ 'C\)l`t‘\\'\itf~s

7. l have ave no (Cii'cle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

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Case 5:18-cv-OO388-TES Document 28-7 Filed 11/14/18 Page 21 of 34

8. If given the choice, I would choose to complete my degree at
l`§fit'§mo®g\` College, as opposed to stopping my education and receiving a
discharge of my student loans.

9. In addition, I would like add the following:
: \(`\C’\\i<_ v~'\‘tn'v`~'tcr\ ‘§\t` \‘\t\(d rr\\d flsa-ir "m'. '\\'\L'\C\\ 3r\'f\’\§ into
fed/timing inst r\rt;»\o\~‘~cl “l’_ \nur\rl \'~ri__ ‘\lt,'l\r \lt?‘or l § c-.\l

~W\ci\- \,\\1' l:' \n ci.t~.'\n\d fha \;\t\ocirltr d

 

 

10. No one has promised or offered me anything in exchange for providing

this statement I give it freely and voluntarily

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Case 5:18-cv-00388-TES Document 28-7 Filed 11/14/18 Page 22 of 34

I declare under penalty of perjury that the foregoing is true and correct.

Dated: November l'c“"' , 2018

 

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Case 5:18-cv-OO388-TES Document 28-7 Filed 11/14/18 Page 23 of 34

DECLARATION OF

 

hereby declare and affirm the following:

 

1. l arn over twenty-one (21) years of age and otherwise competent to

testify as to the matters set forth herein. I have personal knowledge of the matters

set forth herein.

2. Iamacurrentstudentatgg%b§]é_»_o_d_in ll faa
Qalm. (school, city, State)

3. l am enrolled in the \}\£C\l( al /d\<§§l '_'.h[lll'l(

program

4. Upon graduation, I will receive a lylng mci
\)\t~t\\cn\ l\<.§t\$;lrtnt

5. l expect to complete my program in ljm, §
§ o \O\
6. To pay for my education, I have utilized Federal student aid programs,

including tunnel §r\\e\n\l‘i>l\`tp \lr`lmt ash §r lm,nl

7. I have-Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

\\\s\\;?

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Case 5:18-cv-OO388-TES Document 28-7 Filed 11/14/18 Page 24 of 34

8. If given the choice, I would choose to complete my degree at

md College, as opposed to stopping my education and receiving a

discharge of my student loans.

addition, would like the following:

writ gym mm main tip :LYM drth lamp rml

 

10. No one has promised or offered me anything in exchange for providing

this statement, I give it freely and voluntarily

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Case 5:18-cv-OO388-TES Document 28-7 Filed 11/14/18 Page 25 of 34

I declare under penalty of perjury that the foregoing is true and correct.

Dated: November l , 2018

 

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Case 5:18-cv-OO388-TES Document 28-7 Filed 11/14/18 Page 26 of 34

 

 

MLQPLL
1. l am over twenty~one (21) years of age and otherwise competent to

testify as to the matters set forth herein. I have personal knowledge of the matters

set forth herein.

2. I am a current student titqu §gi§§r:_>t ,
Co;t_r@mg_. (s¢hool, city, state)

3. I am enrolled in the Mcc},i£,e~_\ Pt‘&l%”t&'(\`\‘

program.

4. Upon graduation, I will receive a 51`9§(3{§}0\

 

5. I expect to complete my program in § lt'-?‘t”"..)€!t\’&v

20 t”\
6. To pay for my education, I have utilized Federal student aid programs,
including locate once <:)J\mm?>

7. I hav.Circle one that applies) received student aid in excess

of tuition and fees to oEset my living expenses, including:

 

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Case 5:18-cv-OO388-TES Document 28-7 Filed 11/14/18 Page 27 of 34

8. If given the choice, I would choose to complete my degree at
&jg%mm College, as opposed to stopping my education and receiving a
discharge of my student loans.
9. In addition, I would like add the following:
T\:\' uJOO\=§ be clu:£_z\ -’rz') tm(\L '~lhoclr harm

_&:: lc!nc G;§H __Jf_{YS-D bc cwp@ §;CQD; !'§

__'Pt's rt txlc;t“st€ c>£ t`,_v;C\QY"-l`:IY\C.

 

 

10. No one has promised or offered me anything in exchange for providing

this statement, I give it freely and voluntarily

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Case 5:18-cv-OO388-TES Document 28-7 Filed 11/14/18 Page 28 of 34

I declare under penalty of perjury that the foregoing is true and correct

Dated: November id , 2018

 

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Case 5:18-cv-OO388-TES Document 28-7 Filed 11/14/18 Page 29 of 34

 

DECLARATION OF
I, -_, hereby declare and affirm the following:
1. I am over twenty-one (21) years of age and otherwise competent to

testify as to the matters set forth herein. I have personal knowledge of the matters

set forth herein.

2. I am a current student at E>r'\Eh§,;-_gc\ in yl't§fggg ,
l g . (School, city, state)

3. lamenrouedmam medical llssie¥a.olr

program.
4. Upon graduation, I will receive a `l l Ci_

 

5. I expect to complete my program in 105 lDFbLQ£§-j
9~0\£1

6. To pay for my education, I have utilized Federal student aid programs,

including lOM\§ Ctv\th f`hj(`ctf\§t§

Circle one that applies) received student aid in excess

 

of tuition and fees to offset my living expenses, including:

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Case 5:18-cv-OO388-TES Document 28-7 Filed 11/14/18 Page 30 of 34

8. If given the choice, l would choose to complete my degree at

Ezigl'\‘tmod College, as opposed to stopping my education and receiving a

discharge of my student loans.

9. In addition, I would like add the following:
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lillth %orv\ec>ne_ %¥ct¢-l<‘$ Sc\~g>¢~.\ Mdem On

cahill steal ii 'l'lf\ct§¢ c\i)r:>et\ i&> holt claimanch
gha BMQ.Q¢'\ bcg§@ C¥\S§thf&%e,€\.

10. No one has promised or offered me anything in exchange for providing

 

this statement I give it freely and voluntarily

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Case 5:18-cv-OO388-TES Document 28-7 Filed 11/14/18 Page 31 of 34

I declare under penalty of perjury that the foregoing is true and correct

Dated: Novemb¢r l ,2013

 

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Case 5:18-cv-OO388-TES Document 28-7 Filed 11/14/18 Page 32 of 34

 

DECLARATION OF
I, -, hereby declare and affirm the following:

1. I am over twenty-one (21) years of age and otherwise competent to
testify as to the matters set forth herein. I have personal knowledge of the matters
set forth herein.

2. I am a current student at \lll’[}\rllét ldf l l€€}€ in lCl'I/l.§l'll’l ,

,(€, §§'\Q . (School, city, state)

3. 1 am emmett in the `\°33 § pi tcm-ma CCW&
program

4. Upon graduation, l will receive a HS§QA Cl?l'€
ftc SU’Z/\"\L£/ 1 ll l/:t'ht'-`l 1'6‘\".'(.`1’lj lt'..Y’f/

5. I expect to complete my program in \ll.'!u`r"l,_{" 210 l(`l

 

6. To pay for my education, I have utilized Federal student aid programs,
including tv i'”Ot/f\rx ct rv:\ .. cows
7. l have@[€ircle one that applies) received Student aid in excess

of tuition and fees to offset my living expenses, including:

 

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Case 5:18-cv-OO388-TES Document 28-7 Filed 11/14/18 Page 33 of 34

8. If given the choice, I would choose to complete my degree at
irl l ' College, as opposed to stopping my education and receiving a

discharge of my student loans.

9. In addition, I would like add the following:

 

mama so mm n ' w m ending migprm;am batts quith umwa wmath

10. No one has promised 01 offered me anything m exchange i"or providing

this statement, l give it freely and voluntarily

 

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Case 5:18-cv-OO388-TES Document 28-7 Filed 11/14/18 Page 34 of 34

I declare under penalty of perjury that the foregoing is true and correct

Dated: November l ,2018

 

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